Case 3:18-cv-17003-BRI\/|-T.]B Document 1 Filed 12/10/18 Page 1 of 8 Page|D: 1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judjcial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ONNEXTPA GE 0F THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

Sarah Campbe|| and Justin Campbel|, W/h |Vlonro |Vluffler Brake |nc. (see attached sheet)
8643 Ya|e P|ace, Phi|ade|phial Pennsy|vania 19136 200 Hol|eder Parkway, Rochester, New York 14615

(b) County of Residence ofFiIst Listed Plaintiff Philadelphia County of Residence of First Listed Defendant MOF||'O€
(EXCEPTIN U.S. PLAI]VTIFF CASES, (IN U.S. PLA]NT]FF CASES ONLY?

l'N LAND CON'DEMNATION CASES, USE THE LOCATION OF
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JS 44 (Rev. 06/17)

 

NOTE:

(C) At'tol'neys (Firm Name, Address, and Telephone Numbeij AttOmeyS (Ime)wn)

Brad S. Tabakin, Esquire/Richard A. Wo|fe, Esquire (215) 525-1616
1000 Germantown Pike, B-3, P|ymouth |V|eeting, PA 19462

 

 

II. BASIS OF JURISDICTION (Place an "X" in One Box 0nly) lII. CITIZENSI‘IIP OF PRmCIPAL PA.RTIES (Place an "X" in One Boxfor Plainn`/Y
(For Diversily Cases 0nly) and One Boxfor Defendant)
Cl l U.S. Govemment \J 3 Federal Question PTF DEF PTF DEF
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ofBusiness ln This State
Cl 2 U.S. Govemment § 4 Divelsity Cit,izen of Another State |J 2 Cl 2 Incorporated and Principal Place El 5 [X 5
Defendant (Indicate Citizenship afParties in llem III) of Business ln Another State
Citizen or Subject ofa |J 3 Cl 3 Foreign Nation Cl 6 Cl 6
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IV. NATURE OF SUIT (Place an “X" in One Box Only)

 

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El 120 Marine El 310 Airplane |Il 365 Personal Injury - of Property21 USC 881 El 423 Withdrawal CI 376 Qui Tam (31 USC
Cl 130 Miller Act |:l 315 Airplane Product Product Liability Cl 690 Other 28 USC 157 3729(a))
|:l 140 Negotiable Instrument Liability |:l 367 Health Care/ Cl 400 State Reapportionment
El 150 Recovery of Overpayment |Zl 320 Assault, Libel & Pharmaceutical P P Cl 410 Antitrust
& Enforcement of Judgment Slander Personal Injury ._| 820 Copyrights El 430 Banks and Ba.nking
13 151 Medicare Act I:l 330 Federal Employers’ Product Liability Cl 830 Patent 13 450 Commerce
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Cl 160 Stockholders’ Suits \J 355 Motor Vehicle |J 371 Truth in Lcnding Act L'.l 862 Black Lung (923) I:l 850 Securities/Commodities/
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El 362 Persona.l Injury - Product Liability El 751 Farm`]y and Medical Cl 893 Environmental Matters
Medical Malpractice Leave Act CI 895 Freedom of Inf`ormation
l REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS C| 790 Other Labor Litigation FEDFR AI TAX SUlTS Act
|:l 210 Land Condemnation El 440 Other Civil Rights Habeas Corpus: Cl 791 Employee Retirement Cl 870 Taxes (U.S. Plaintiff [J 896 Arbitration
El 220 Fcreclosure |:l 441 Voting IJ 463 Alien Detainee Income Security Act or Defendant) CI 899 Administrative Procedure
[J 230 Rent Lease & Ejectment IJ 442 Employment Cl 510 Motions to Vacate El 871 IRS_Third Party Act/Review or Appeal of
El 240 Torts to Land Cl 443 Housing/ Senlence 26 USC 7609 Agency Decision
Cl 245 Ton Product Liability Accommodations El 530 General Cl 950 Constitutionality of
CI 290 All Other Real Property CI 445 Amer. w/Disabilities - El 535 Death Penalty IMMIGRATION State Statutes
Employment Other: El 462 Naturalization Application
El 446 Amer. w/Disabilities - U 540 Mandamus & Other Cl 465 Other Immigration
Other |:l 550 Civil Rights Actions
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El 560 Civil Detainee -
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V. ORIGIN (Place an ‘”'X in One Box Only)
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VI. CAUSE OF ACTION

 

Cite the U.S. Civil Stat'ufe under Which you are filing (Du not cite jurisdictional statutes unless diversity):
28 U.S.C. 1332(8_}{1)§ 28 U.S.C. 1391{3){2)
Brief description of causes

|V|otor Vehic|e Accident

 

 

 

 

 

VII. REQUESTED IN III CHECK IF THIS IS A CLASS ACTloN DEMAND $ 00 CHECK YES duly if demanded in COmplainf=
coMPLAINT: vNDER RULE 23, F.R.CV»P. 1 10 000 / JURY DEMAND= g Yes amc

VIII. RELATED CASE(s) S v v v q ,
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RECEIPT # AMOUNT APPLYING Il-jl’ JUDGE MAG. JUDGE

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

SARAH CAMPBELL and JUSTIN CAMPBELL,
Wife and Husband
8643 Yale Place
Philadelphia, Pennsylvania 19136
Plaintiffs

v. : NO:

MONRO MUFFLER BRAKE INC.

200 Holleder Parkway

Rochester, NeW York 14615
Defendant

and : COMPLAINT AND
: JURY DEMAND
IVAN M. RODRIGUEZ '
1924 South Olden Avenue
Harnilton, New Jersey 08610
Defendant

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IN THE UNITED STATES DISTRICT COURT
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Defendant

and : COMPLAINT AND
: JURY DEMAND
IVAN M. RODRIGUEZ '
1924 South Olden Avenue
Hamilton, New Jersey 08610
Defendant
CIVIL ACTION - COMPLAINT

THE PARTIES

1. Plaintiffs, Sarah Campbell and Justin Campbell, Wife and husband, are adult
individuals, citizens and residents of the Commonwea]th of Pennsylvania and reside at 8643
Yale Place, Philadelphia, Pennsylvania 19136.

2. Defendant, Monro Mufiler Brake Inc., is a NeW York corporation or other
business entity authorized and transacting business in the State of NeW Jersey With its domicile
and principal place of business located in the State of NeW York With its corporate offices

located at 200 Holleder Parkway, Rochester, NeW York, 14615.

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3. Defendant, Ivan M. Rodriguez, is an adult individual and is a citizen and resident
of the State of New Jersey and resides at 1924 South Olden Avenue, Hamilton, New Jersey
0861 O.

JURISDICTION

4. This Court has jurisdiction over this matter pursuant to 28 U.S.C. 1332(a)(1) in
that "the matter in controversy exceeds the sum or value of $75,000.00, exclusive of interest and
costs, and is between citizens of different States”.

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5. Venue over this action is appropriate in this matter pursuant to 28 U.S.C.
1391(a)(2), in the District of New Jersey in that: - it is where a substantial part of the events or
omissions giving rise to the claim occurred.

FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

6. Plaintiffs aver and incorporate by reference all of the allegations of Paragraphs 1
through 5, inclusive, of this Complaint as though the same were fully set forth hereinafter.

7. On or about April 15, 2017, at approximately 12:45 P.M., Plaintiff, Sarah
Campbell, was legally proceeding in her motor vehicle in a northerly direction on Main Street,
Manalapan Township, Monrnouth County, New Jersey, when suddenly and without warning,
Defendant, Ivan M. Rodriguez, who was the operator of a motor vehicle, to wit, a 2005 Ford
Pickup, New Jersey License Plate No: XC451L, owned by Defendant, Monro Muffler Brake
Inc., so negligently and carelessly struck Plaintiff, Sarah Campbell, vehicle in the rear causing

the Plaintiff, Sarah Carnpbell, to sustain severe and permanent injuries and other losses

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hereinafter more fully set forth herein.

8. The injuries resulted solely from the negligence and carelessness of the
Defendants, Ivan M. Rodriguez and Monro Muffler Brake Inc., and was due, in no manner
whatsoever, to any act or failure to act on the part of the Plaintiff, Sarah Campbell.

9. The aforesaid accident was caused solely by reason of the negligence and
carelessness of the Defendants, Ivan M. Rodriguez and Monro Muffler Brake Inc., and in addition

to the aforementioned, consisted of the following:

a. Operating a motor vehicle at a high and excessive rate of speed under the
circumstances;
b. Failing to have a motor vehicle under proper and adequate control;
c. Failing to use the highest degree of skill in the operation of a motor vehicle;

d. Failing to keep a proper lookout for other vehicles upon the hi ghway;
e. F ailing to exercise due care and caution under the circumstances;

f. Violating the Ordinances of the Township of Manalapan, County of
Monmouth, State of New Jersey;

g. Violating the Assured Clear Distance Rule;

h. Failure to yield the light of way to the Plaintiff’ s vehicle;
i. Negligence at law;

j. Defendant, Monro Muffler Brake Inc. failed to investigate, ascertain and/or
certify the credential of Defendant, Ivan M. Rodriguez, the operator of the motor vehicle;

k. Defendant, Monro Muffler Brake Inc., negligently entrusted his vehicle to
the care and control of Defendant, Ivan M. Rodriguez, when he knew or should have known that
Such entrustment may result in injury to another driver;

l. Defendant, Monro Muffler Brake Inc., failed to investigate, ascertain and/or
Verify the credentials of Ivan M. Rodriguez, the operator of his motor vehicle.;

m. Defendant, Monro Muffler Brake Inc., negligently entrusted the operation of

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said vehicle to Defendant, Ivan M. Rodriguez, when he knew, or had reason to know, that such
entrustment may result in injury to other motorists;

n. Violation of the statutes and ordinances of the State ofNew Jersey
regarding the safe operation of a motor vehicle; and

o. Such other acts or failures to act as shall be revealed through
the course of discovery.

10. As a result of the aforesaid negligence and carelessness of the Defendants, Ivan
M. Rodriguez and Monro Muffler Brake Inc., the Plaintiff, Sarah Campbell, was caused to sustain
severe and permanent injuries requiring medical treatment, to the bones, joints, muscles, tendons,
blood vessels, and soft tissues throughout her entire body, including, but not limited to her neck,
back, bilateral shoulders, bilateral hips, annular tear an disc bulge at L3 -4, L4-5 and L5-S1, L5
radiculopathy on right, disc bulging at C4-5 through C6-7, and was caused immeasurable pain
and suffering, was prevented from pursuing her usual activities, has permanent disabilities that
will affect Plaintiff herein, and may have caused her to sustain other diverse losses and to incur
such expenditures for an indefinite period of time in the future, to her great detriment and loss,
which currently equals or exceeds $17,909.64 and may continue to increase

11. As a further result of the negligence and carelessness of the Defendants, Ivan M.
Rodriguez and Monro Muffler Brake Inc., Plaintiff, Sarah Carnpbell, has and will be obliged to
receive and undergo medical attention and care and to expend various Sums of money and to incur
various expenses, and she may be obliged to continue to expend such sums and to incur such
expenditures for an indefinite period of time in the future, all to Plaintiff’s great detriment and loss.

12. As a further result of the negligence and carelessness of the Defendants, Ivan M.
Rodriguez and Monro Muffler Brake Inc., Plaintiff, Sarah Campbell, has been caused to suffer

agonizing aches, severe physical pains, disability, mental anguish and humiliation and will continue

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to suffer same for an indefinite time in the future, all to Plaintiff's great detriment and loss.

13. As a result of the negligence and carelessness of the Defendants, Ivan M. Rodriguez
and Monro Muffler Brake Inc., Plaintiff, Sarah Campbell, has been caused to suffer a loss of
earnings and earning capacity or may suffer a loss of earnings and earning capacity and impairment
of earning capacity and power, and may continue to incur same in the future.

14. Solely as a result of the aforesaid negligence and carelessness of the Defendants
herein, Justin Campbell, as spouse of Plaintiff, Sarah Campbell, has been deprived of the society,
companionship, aid, assistance, earnings and earning power and consortium of said spouse, all of
which has, and may, in the future, continue to cause great emotional financial loss and damage.

WHEREFORE, Plaintiffs, Sarah Campbell and Justin Campbell, demand compensatory
damages against Defendants, Ivan M. Rodriguez and Monro Muffler Brake Inc., for the common
law tort of negligence, in an amount in excess of Seventy-Five Thousand ($75,000.00) Dollars, plus

interest, costs of suit and attorney’s fees.

JURY DEMAND

Plaintiffs demand a jury trial.

TABAKINWO E LLP

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BRAD S. TABAKIN, ESQUIRE
Attomey for Plaintiff
Identification No: 65649

E-mail: brad(ti)'twlegal.net

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Attorney for Plaintiff
Identification No: 78944

1000 Germantown Pike - Unit B3
Plymouth Meeting, Pennsylvania 19462
(215) 525-1616 - Office

(215) 525-5858 - Facsimile

E-mail: rich§ti;;twleual.net

